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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

JENNIFER R. THOMPSON                                     CIVIL ACTION

VERSUS                                                   NO. 13-5584-SM-SS

LABORATORY CORP. OF AMERICA

                                          ORDER

DEFENDANT’S MOTION TO COMPEL (Rec. doc. 11)

DISMISSED AS MOOT

      At the request of the defendant and mover, Laboratory Corporation of America

(“LabCorp”),

      IT IS ORDERED that LabCorp’s motion to compel discovery responses (Rec. doc. 11) is

DISMISSED as MOOT.

      New Orleans, Louisiana, this 25th day of April, 2014.


                                                  __________________________________
                                                  SALLY SHUSHAN
                                                  U.S. Magistrate Judge
